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                     N THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                AUGUSTA DIVISION

UNITED STATES OF AMERICA                    )
                                            )
              V.                            )       CR111-270
                                            )
CLEVELAND DAVID HALL, 11                    )


                                      ORDER


       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Report and Recommendation of the Magistrate Judge is ADOPTED as the opinion of

the Court. Therefore, Defendant Hall is competent to stand trial within the meaning of

18 U.S.C. § 4241.

       SO ORDERED this /5*kay of March, 2012, at Augusta, Georgia.



                                    HONBtE J. 1NDAL HALL
                                    UNI}1ED STATES DISTRICT JUDGE
                                     01THERN DISTRICT OF GEORGIA
